      Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 1 of 17



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

HILDA GONZALEZ GARZA AND                      §
ROSBELL BARRERA,                              §
                                              §
                  Plaintiffs,                 §
                                              §
v.                                            §        CIVIL ACTION NO.
                                              §
STARR COUNTY, TEXAS;                          §
OMAR ESCOBAR, in his official capacity        §
as District Attorney for the 229th Judicial   §
District; VICTOR CANALES JR.,                 §
in his official capacity as County Attorney   §
for Starr County; ELOY VERA, in his           §
official capacity as County Judge for         §
Starr County; JAIME ALVAREZ, in his           §
official capacity as Starr County             §
Commissioner for Precinct 1; RAUL PEÑA, §
III, in his official capacity as Starr County §
Commissioner for Precinct 2; ELOY GARZA, §
in his official capacity as Starr County      §
Commissioner for Precinct 3; RUBEN D.         §
SAENZ, in his official capacity for Starr     §
County Commissioner for Precinct 4;           §
RENE “ORTA” FUENTES, in his official          §
capacity as Sheriff for Starr County.         §
                                              §
                  Defendants.                 §


                                  ORIGINAL COMPLAINT

                                       INTRODUCTION

       Plaintiffs HILDA GONZALEZ GARZA and ROSBELL BARRERA (“Plaintiffs”) bring

this civil rights action against Starr County, Texas and various Starr County officials

(collectively “Defendants” or “Starr County”) for declaratory and injunctive relief.

       Starr County adopted a far-reaching ban on electioneering that is strictly prohibited by

the Texas Election Code. The Texas Secretary of State’s Office recently warned that the
      Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 2 of 17



County’s electioneering ban likely violates state law. Despite this warning, Defendants intend to

enforce their ban.

        Plaintiffs are residents and registered voters of Starr County. Plaintiffs are politically

active members of the Republican and Democratic parties in Starr County and plan to engage in

electioneering activities now banned by the County. Plaintiffs challenge the ban because it

unconstitutionally restricts their right to free speech and is illegal under state law.

                                  JURISDICTION AND VENUE

        1.       This Court has original jurisdiction over Plaintiffs’ cause of action arising under

the Constitution of the United States pursuant to 28 U.S.C. §§ 1331 and 1343, as well as 42

U.S.C. § 1983.

        2.       This Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant

to 28 U.S.C. § 1367(a).

        3.       Pursuant to 28 U.S.C. § 1391(b), venue is proper in the United States District

Court for the Southern District of Texas, the judicial district in which the parties reside and

where a substantial part of the events or omissions giving rise to the claims occurred.

                                              PARTIES

Plaintiffs

        4.       Plaintiff HILDA GONZALEZ GARZA is a resident and registered voter of Starr

County. She is an unopposed candidate for Democratic Party Precinct Chair for Starr County

Precinct No. 10 in the 2018 primary election.

        5.       Plaintiff ROSBELL BARRERA is a resident and registered voter of Starr

County. He serves as the chairman of the Starr County Republican Party.




                                                   2
      Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 3 of 17



         6.     Plaintiffs intend to electioneer on county-owned property in the upcoming March

6, 2018 Texas primary election, the November 6, 2018 general election, and the early voting

periods for both elections.

Defendants

         7.     Defendant STARR COUNTY is a county organized under the laws of the State of

Texas.

         8.     Defendant ELOY VERA is the County Judge of Starr County. He presides over

the Starr County Commissioners’ Court, which enacted the electioneering ban. He carries out

budgetary and policy making functions of county government, including the calling and holding

of elections. He sets policy to provide and maintain all county buildings and facilities. He is

sued in his official capacity.

         9.     Defendant JAIME ALVAREZ is the Starr County Commissioner for Precinct

1. He is a member of the Starr County Commissioners’ Court, which enacted the electioneering

ban. He carries out budgetary and policy making functions of county government, including the

calling and holding of elections. He sets policy to provide and maintain all county buildings and

facilities. He is sued in his official capacity.

         10.    Defendant RAUL PEÑA, III is the Starr County Commissioner for Precinct 2. He

is a member of the Starr County Commissioners’ Court, which enacted the electioneering ban.

He carries out budgetary and policy making functions of county government, including the

calling and holding of elections. He sets policy to provide and maintain all county buildings and

facilities. He is sued in his official capacity.

         11.    Defendant ELOY GARZA is the Starr County Commissioner for Precinct 3. He

is a member of the Starr County Commissioners’ Court, which enacted the electioneering ban.



                                                   3
      Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 4 of 17



He carries out budgetary and policy making functions of county government, including the

calling and holding of elections. He sets policy to provide and maintain all county buildings and

facilities. He is sued in his official capacity.

        12.     Defendant RUBEN D. SAENZ is the Starr County Commissioner for Precinct

4. He is a member of the Starr County Commissioners’ Court, which enacted the electioneering

ban. He carries out budgetary and policy making functions of county government, including the

calling and holding of elections. He sets policy to provide and maintain all county buildings and

facilities. He is sued in his official capacity.

        13.     Defendant RENE “ORTA” FUENTES is the Sheriff for Starr County. He serves

as a licensed peace officer and oversees, directs and controls the Starr County Sheriff’s Office,

which is charged with the enforcement of criminal laws, including the Starr County

electioneering ban. He is sued in his official capacity.

        14.     Defendant VICTOR CANALES, JR. is the County Attorney for Starr County. He

is responsible for prosecuting misdemeanor criminal cases in Starr County, assists law

enforcement officials with criminal investigations, and provides legal advice to the Starr County

Commissioners’ Court and other county elected officials. He is also responsible for enforcing

the electioneering ban. He is sued in his official capacity.

        15.     Defendant OMAR ESCOBAR, JR. is the District Attorney for the 229th Judicial

District, which includes the counties of Duval, Jim Hogg and Starr. He is responsible for

prosecuting felony criminal cases in Starr County and assists law enforcement officials with

criminal investigations. He is also responsible for enforcing the electioneering ban. He is sued

in his official capacity.




                                                   4
     Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 5 of 17



       16.     At all times relevant hereto, Defendants were and have been acting under color of

statutes, ordinances, regulations, policies, customs, and usages of the State of Texas and Starr

County, Texas.

                                 FACTUAL ALLEGATIONS

Defendants Adopted an Unlawful Electioneering Ban

       17.     On January 8, 2018, the Starr County Commissioners’ Court adopted an order

banning electioneering on county-owned property during any voting period.

       18.     The electioneering order (“Order” or “electioneering ban”) constitutes an official

policy and practice of Starr County.

       19.     The Order states that Starr County “desires to regulate the time, place and manner

of electioneering by prohibiting electioneering during any ‘voting period’ as defined by the

Texas Election Code in or on property owned or under the care, custody and control of the

County of Starr.”

       20.     The Order directs the County Judge’s office to “place proper notice of no

Electioneering on County Property to inform the general public of the restriction or prohibition.”

       21.     The Order further states that “[t]he Starr County Sheriff shall enforce these

policies as mandated by Texas Local Government Code[.]”

       22.     The Order finally states “that any person violating a rule adopted under this order

commits an offense, will be prosecuted as a Criminal Trespass which is a Class B misdemeanor,

pursuant, [sic] punishable by fine not to exceed $2,000.00 and up to six (6) months in Jail for

each violation.”




                                                5
      Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 6 of 17



       23.     The Order references and attaches, as “further” information, maps of several

county properties and surrounding areas. The maps include red markings around the county

properties.

       24.     The Order does not limit the electioneering ban to election polling places, but

instead applies to all property owned or under the control of Starr County.

       25.     For example, the Order references and includes a map of the Starr County

Courthouse Annex. The Starr County Courthouse Annex is not a polling place in the upcoming

Primary Election.

       26.     In another example, the Order references and includes a map of La Victoria

Community Center-Zarate Park.       La Victoria Community Center-Zarate Park is a designated

polling place for Primary Election Day, but not during early voting.

       27.     With respect to county property that is used for polling places, the Order bans

electioneering well beyond the 100-foot perimeter in which electioneering is prohibited by the

Texas Election Code. Tex. Elec. Code § 61.003.

       28.     The effect of the order is to establish zones of varying size outside polling places

in which electioneering is banned. For example, the distance from the door of the La Rosita

Commissioner Precinct #1 polling place to the edge of the county property is approximately 155

feet. The distance from the door of the El Cenizo polling place [Starr County Precinct Office on

highway FM 1430] to the edge of the county property is approximately 232 feet. The distance

from the door of the Starr County Courthouse to the edge of the county property is

approximately 153 feet. The distance from the door of La Victoria Community Center-Zarate

Park to the edge of the county property is approximately 468 feet.




                                                6
      Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 7 of 17



        29.     The Order applies “during any ‘voting period’ as defined by the Texas Election

Code.” The Texas Election Code defines voting period as “the period beginning when the polls

open for voting and ending when the polls close or the last voter has voted, whichever is

later.” Tex. Elec. Code § 61.003(b)(2).

        30.     Electioneering includes verbal advocacy for a particular candidate, measure or

political party as well as “the posting, use, or distribution of political signs or literature.” Id. at §

61.003(b)(1).

        31.     Starr County has posted notice of the ban on its official website.

        32.     The ban is in effect and will govern the upcoming election cycle, including early

voting and Primary Election Day on March 6, 2018.

Plaintiffs Have a Long History of Electioneering and Civic Engagement

        33.     Each election cycle, Starr County residents electioneer on county property during

the voting period. Party loyalists, candidates, campaign workers and volunteers post and hold up

signs, distribute brochures, verbally advocate for propositions and candidates, display car

bumper stickers, and wear campaign t-shirts, among other electioneering activities.

        34.     To facilitate their electioneering activities, campaigns and volunteers in Starr

County regularly bring barbeque grills, hand out food plates, water and sodas, and set up tents

outside polling places, including on county-owned property.

        35.     For years, Plaintiffs have peacefully electioneered and advocated for policies,

political parties, and candidates of their choice. Plaintiffs regularly wear t-shirts supporting their

candidates of choice, hold up political signs, distribute campaign brochures, provide information

to voters about candidates, and answer any questions from voters and neighbors about those

candidates.



                                                   7
       Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 8 of 17



           36.   Plaintiffs have peacefully engaged in these electioneering activities during the

voting period on county property, including in parking lots and park areas, on sidewalks, and

outside polling places.

           37.   When electioneering at polling places, Plaintiffs remain beyond the 100-foot

distance from the outside door as required by the Texas Election Code.

           38.   As a candidate running unopposed in the upcoming 2018 primary election for

Precinct Chair for Starr County Precinct No. 10, Plaintiff HILDA GONZALEZ GARZA, in

addition to engaging in her regular electioneering activities, stands outside of polling places

(beyond the 100-foot marker), distributes sample ballots to voters, and asks the voters to cast

their ballot for her.

           39.   Plaintiffs regard electioneering as part of their civic duty and intend to continue

electioneering, as they have done for many years, during the voting periods for the 2018 primary

and general elections.

           40.   Plaintiffs fear that if they engage in electioneering activities on county property

during the voting period they will be subject to arrest and punishment under the electioneering

ban.

           41.   In the many years in which Starr County residents have engaged in electioneering

on county property, county governmental operations have not been disrupted. Similarly, there

have been no health or safety problems caused by electioneering.

           42.   To the contrary, electioneering activities on county property allow voters to learn

more about candidates, share their views and make informed decisions on how to cast their

ballots.




                                                  8
     Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 9 of 17



       43.    In the many years Plaintiffs have engaged in these activities, they have never

observed intimidation or harassment of voters on property owned by Starr County.

Defendants Ignored Citizen Concerns and Failed to Revise the Policy

       44.    On January 8, 2018, when the Starr County Commissioners’ Court passed its

Order banning electioneering, the Commissioner’s Court did not allow comment from the

general public. At that meeting, Plaintiff HILDA GONZALEZ GARZA spoke up to raise a

concern that the electioneering ban violated the Texas Election Code. However, Defendant

COUNTY JUDGE ELOY VERA refused to recognize Plaintiff HILDA GONZALEZ GARZA.

       45.    On January 26, 2018, Plaintiff HILDA GONZALEZ GARZA sent a letter to

Defendant DISTRICT ATTORNEY ESCOBAR, and copied all Defendants who sit on the

Commissioners Court, stating her intent to engage in electioneering beyond the 100-foot marker

and asking whether her planned activities would violate the newly-adopted electioneering ban.

       46.    Plaintiff HILDA GONZALEZ GARZA has not received a response to her letter

from Defendants.

       47.    On February 1, 2018, Plaintiff ROSBELL BARRERA sent a letter to Defendant

DISTRICT ATTORNEY ESCOBAR and copied all Defendants who sit on the Commissioners

Court. He stated his intent to engage in electioneering activities beyond the 100-foot marker in

support of Republican candidates and asked whether his planned activities would violate the

newly-adopted electioneering ban.

       48.    Plaintiff ROSBELL BARRERA did not receive a response from Defendants.

       49.    After Plaintiffs sent their letters to Starr County, Defendant COMMISSIONER

GARZA asked the Commissioners Court to revisit the electioneering ban at its February 12,

2018 meeting. Defendant COUNTY JUDGE VERA placed that item on the agenda.



                                               9
     Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 10 of 17



       50.     At the February 12, 2018 meeting, Defendant COMMISSIONER GARZA asked

Defendant COUNTY ATTORNEY CANALES to clarify the meaning of electioneering in the

ban. Defendant COUNTY ATTORNEY CANALES responded that the word electioneering

“speaks for itself.” Defendant COUNTY ATTORNEY CANALES further stated: “There cannot

be electioneering. There cannot be loitering. There cannot be essentially ‘pressing the flesh’ on

county property . . . You cannot have barbeque pits in parking lots. Signage can’t be on vehicles

in the parking areas.” Defendant COUNTY ATTORNEY CANALES also stated at that meeting

that the Starr County Sheriff’s office would enforce the ban.

       51.     At the February 12, 2018 Commissioners’ Court meeting, Plaintiff HILDA

GONZALEZ GARZA sought to raise concerns to the Commissioners about the scope and

illegality of the ban, but Defendant COUNTY JUDGE ELOY VERA did not allow for any

public comment on the electioneering ban.

       52.     The Commissioners’ Court adjourned its February 12, 2018 meeting without

taking formal action to revise or rescind the ban. Instead, at the same meeting, the

Commissioners’ Court adopted a Building Property Use Policy that incorporated the

electioneering ban.

       53.     On February 12, 2018, Plaintiff HILDA GONZALEZ GARZA emailed the Texas

Secretary of State’s Elections Division to inquire about the legality of the ban. On February 15,

2018, Christina Adkins, Legal Director of the Elections Division at the Texas Secretary of

State’s Office, emailed Plaintiff HILDA GONZALEZ GARZA, stating that:

       Section 61.003 of the Texas Election Code specifically states that any entity that
       owns or controls a public building that is used as a polling place cannot prohibit
       electioneering on the premises. The resolution from Starr County appears to
       prohibit electioneering entirely, not just provide regulations as to the time, place,
       and manner of electioneering. It appears as though this would be in conflict with
       61.003 (a-1) of the code.


                                                10
     Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 11 of 17



       54.     On February 15, 2018, Sam Taylor, the Communications Director of the Texas

Secretary of State’s Office stated publicly: “The election code is very clear that they may not

ban or prohibit at any time electioneering on the building’s premises outside of that 100-foot

mark.” Mr. Taylor’s comments were published locally in The Monitor newspaper. Also on

February 15, 2018, Defendant DISTRICT ATTORNEY ESCOBAR responded to the public

position of the Texas Secretary of State’s Office by maintaining that the Starr County

electioneering ban was a reasonable regulation, stating “I really don’t see that anybody’s rights

are being violated[.]”

       55.     On February 16, 2018, Defendant DISTRICT ATTORNEY ESCOBAR posted on

his official Facebook page a message that stated in part: “Electioneering continues to be

prohibited in all designated county parking zones. Once again, persons may request a permit to

use non-parking areas for any allowed purpose. As of yet, neither the Starr County

Commissioners’ Court nor the Starr County Judge’s Office have granted and they are not

required to grant a permit to anyone requesting use of public property.”

       56.     On February 20, 2018, the first day of early voting in the March 2018 primary

election, Starr County Elections Director John Lee Rodriguez directed at least one Starr County

employee and at least one Starr County official with political bumper stickers or displays on their

vehicles to remove their vehicles from the courthouse parking lot or cover their political

displays. The vehicles were parked at the courthouse beyond the 100-foot marker.

       57.     Plaintiff HILDA GONZALEZ GARZA was in the Starr County Courthouse

parking lot on February 20, 2018. Plaintiff HILDA GONZALEZ GARZA helped a Justice of

the Peace who works at the courthouse to cover up the political displays on his truck pursuant to

the order of the Starr County Elections Director.



                                                11
     Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 12 of 17



       58.     Plaintiff HILDA GONZALEZ GARZA was electioneering in the Starr County

Courthouse parking lot on February 20, 2018 and has political bumper stickers on her car.

       59.     After she helped the Justice of the Peace cover up the political displays on his

truck, Plaintiff HILDA GONZALEZ GARZA left the courthouse parking lot because she feared

arrest under the electioneering ban as a result of her electioneering activities and having political

bumper stickers on her car.

       60.     As a practicing attorney, Plaintiff HILDA GONZALEZ GARZA visits the

County Courthouse on behalf of clients who have cases pending in the court. She fears she will

be arrested for parking in the courthouse parking lot when conducting regular business at the

courthouse because she has campaign stickers on her car. For the same reason, she fears arrest

and prosecution for parking at other county properties that she visits including, but not limited to,

the Starr County Detention Center, the Starr County Sheriff’s Office, the Starr County Adult

Probation Office and the Starr County Commissioners’ offices.

       61.     Plaintiff ROSBELL BARRERA’s electioneering activity includes wearing t-shirts

promoting his preferred candidates and political party. Plaintiff BARRERA wears these t-shirts

in his daily business in Starr County, including visiting county property such as the Starr County

Courthouse, the Starr County Courthouse Annex and the Starr County office downtown in Rio

Grande City, and including during voting periods. On election night, Plaintiff BARRERA wears

electioneering t-shirts to the Starr County Courthouse Annex where the votes are tabulated.

Plaintiff BARRERA fears arrest and prosecution under the electioneering ban for his

electioneering activities, including wearing t-shirts, on county property.

       62.     On February 20, 2018, Sam Taylor, the Communications Director of the Secretary

of State’s Office, again reiterated that the Election Code “says that they may enact reasonable



                                                 12
     Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 13 of 17



regulations concerning the time, place and manner of electioneering. But a reasonable regulation

is not an outright ban. So, it’s very important to make that distinction as to what a reasonable

regulation is.” Mr. Taylor’s comments were published locally by KRGV Channel 5 News on its

website.

       63.     In response to Mr. Taylor’s public statement, on February 20, 2018, Defendant

DISTRICT ATTORNEY ESCOBAR stated: “Well, somebody would have to challenge the

resolution, or challenge the laws, or challenge the policies, and up to now, we don’t have a

lawsuit, so nobody is challenging the policies.” Mr. Escobar’s comments were published locally

by KRGV Channel 5 News on its website.

                                         CAUSES OF ACTION

                                      FIRST CAUSE OF ACTION

             Starr County’s Electioneering Ban Abridges Plaintiffs’ Free Speech Rights
                                in Violation of the U.S. Constitution


       64.     Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this complaint as though fully set forth here.

       65.     The First Amendment to the U.S. Constitution provides: “Congress shall make no

law . . . abridging the freedom of speech[.]”

       66.     The free speech guarantee of the First Amendment is made applicable to the states

through the Fourteenth Amendment, which provides “No state shall make or enforce any law

which shall abridge the privileges or immunities of citizens of the United States; nor shall any

state deprive any person of life, liberty, or property, without due process of law; nor deny to any

person within its jurisdiction the equal protection of the laws.”




                                                 13
     Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 14 of 17



         67.      Defendants’ electioneering ban abridges political speech that lies at the core of the

protections afforded by the First Amendment.

         68.      Defendants’ electioneering ban is not narrowly tailored to serve a compelling

state interest.

                                   SECOND CAUSE OF ACTION

        Starr County’s Electioneering Ban Violates § 61.003 of the Texas Election Code


         69.      Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this complaint as though fully set forth here.

         70.      Texas Election Code § 61.003(a-1) provides that “[t]he entity that owns or

controls a public building being used as a polling place may not, at any time during the voting

period, prohibit electioneering on the building’s premises outside of the area [within 100 feet of

an outside door of a polling place], but may enact reasonable regulations concerning the time,

place, and manner of electioneering.”

         71.      Starr County is subject to Section 61.003 of the Texas Election Code.

         72.      Defendants’ ban violates Section 61.003(a-1) of the Texas Election Code, which

prohibits electioneering within 100 feet of the door of a polling place and requires jurisdictions

like Starr County to permit electioneering beyond the 100-foot zone subject to reasonable time,

place and manner regulations.

         73.      Starr County’s electioneering ban also conflicts with Section 61.003 of the Texas

Election Code by imposing different criminal penalties for electioneering within the 100-foot

zone.

                                        THIRD CAUSE OF ACTION

                    Starr County’s Electioneering Ban Constitutes Ultra Vires Activity

                                                   14
     Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 15 of 17




       74.     Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this complaint as though fully set forth here.

       75.     Under Texas law, an ultra vires suit may be brought against government officials

acting without legal authority or failing to perform a purely ministerial act.

       76.     Defendants are responsible for the administration of elections in Starr County,

Texas and enforcement of laws related to elections. Texas law both constrains Defendants’

election authority and prescribes specific, ministerial acts for election administration that

Defendants must perform.

       77.     Defendants have acted without legal authority by adopting an electioneering ban

expressly prohibited by Texas Election Code § 61.003(a-1) and by expressing their intention to

enforce the ban. Defendants’ actions undertaken without legal authority are ultra vires acts.


                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request the following relief:

               1.      A declaratory judgment that Defendants’ electioneering ban, in its

                       entirety, violates Plaintiffs’ free speech rights as guaranteed by the First

                       and Fourteenth Amendments to the U.S. Constitution;

               2.      A declaratory judgment that Defendants’ electioneering ban violates

                       Section 61.003 of the Texas Election Code;

               3.      A declaratory judgment that Defendants’ electioneering ban is ultra vires;

               4.      An injunction prohibiting Defendants and their officials, employees, and

                       agents from implementing or enforcing the electioneering ban;




                                                 15
    Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 16 of 17



              5.     An order awarding Plaintiffs reasonable costs and attorneys’ fees under 42

                     U.S.C. § 1988 and any other applicable law; and

              6.     Such other and further relief as this Court deems just and proper.


Dated: February 21, 2018                   Respectfully submitted,

                                           MEXICAN AMERICAN LEGAL DEFENSE
                                           AND EDUCATIONAL FUND
                                           By: /s/ Nina Perales
                                           Nina Perales
                                           State Bar No. 24005046
                                           SDTX Bar No. 21127
                                           nperales@maldef.org
                                           Celina Moreno
                                           State Bar No. 24074754
                                           SDTX Bar No. 2867694
                                           cmoreno@maldef.org
                                           Alejandra Ávila
                                           State Bar No. 24089252
                                           SDTX Bar No. 2677912
                                           aavila@maldef.org
                                           110 Broadway, Suite 300
                                           San Antonio, TX 78205
                                           Tel: (210) 224-5476
                                           Fax: (210) 224-5382

                                           TEXAS CIVIL RIGHTS PROJECT
                                           By: /s/ Efrén C. Olivares
                                           Efrén C. Olivares
                                           State Bar No. 24065844
                                           SDTX Bar No. 1015826
                                           efren@texascivilrightsproject.org
                                           Rebecca Harrison Stevens
                                           State Bar No. 24065381*
                                           beth@texascivilrightsproject.org
                                           1017 W. Hackberry Ave.
                                           Alamo, Texas 78516
                                           Tel: (956) 787-8171 ext. 121
                                           *Pro hac vice application forthcoming

                                              16
     Case 7:18-cv-00046 Document 1 Filed on 02/21/18 in TXSD Page 17 of 17




                                            Attorneys for Plaintiffs HILDA GONZALEZ
                                            GARZA and ROSBELL BARRERA


                                     Certificate of Service

        The undersigned counsel hereby certifies that she has electronically submitted a true and
correct copy of the above and foregoing via the Court’s electronic filing system on the 21st day
of February 2018.


                                             /s/ Nina Perales
                                             Nina Perales




                                               17
